
Active Care Medical Supply Corp., as Assignee of Salandy Akeller, Appellant,
againstDelos Insurance Company, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Esq.), for appellant.
Rubin, Fiorella &amp; Friedman, LLP (Conrad Horowitz, Esq.), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Terrence C. O'Connor, J.), entered October 23, 2015. The order, insofar as appealed from as limited by the brief, sua sponte, awarded defense counsel "$250 in fees."




ORDERED that the appeal is dismissed.
Plaintiff commenced this action to recover first-party no-fault benefits for medical supplies provided to its assignor, who had allegedly sustained injuries in a motor vehicle accident which had occurred on June 26, 2010. Defendant moved for summary judgment dismissing the complaint on the ground that the action was barred by the doctrines of res judicata and collateral estoppel by virtue of an order it had obtained against this provider, among others, in a Supreme Court declaratory judgment action involving the same motor vehicle accident. Plaintiff opposed defendant's motion and cross-moved for various types of relief. The Civil Court, in an order entered October 23, 2015, granted defendant's motion for summary judgment dismissing the complaint, denied plaintiff's cross motion and, sua sponte, awarded defense counsel "$250 in fees." Plaintiff appeals, as limited by its brief, from so much of the order as awarded defense counsel "$250 in fees."
For the reasons stated in Active Care Med. Supply Corp., as Assignee of Malcolm Sade v Delos Ins. Co. (__ Misc 3d ___, 2017 NY Slip Op ______ [appeal No. 2015-2811 Q C]), decided herewith, the appeal is dismissed.
Weston, J.P., Aliotta and Elliot, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: May 12, 2017










